                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA, ex rel.                 )
JEFFREY LIEBMAN and DAVID                         )
STERN, M.D.,                                      )
                                                  )
     Plaintiff-Relators,                          )       NO. 3:17-cv-00902
                                                  )
v.                                                )       JUDGE CAMPBELL
                                                  )       MAGISTRATE JUDGE HOLMES
METHODIST LE BONHEUR                              )
HEALTHCARE and METHODIST                          )
HEALTHCARE-MEMPHIS                                )
HOSPITALS,                                        )
                                                  )
     Defendant.                                   )

                                             ORDER

       Pending before the Court are motions to intervene filed by Mary Page and Randel Page Jr.

(Doc. Nos. 283, 339). Defendants Methodist Le Bonheur Healthcare and Methodist Healthcare –

Memphis Hospitals (collectively, “Methodist”) filed responses in opposition to the motions. (Doc.

Nos. 295, 385). The United States separately filed a response in opposition to Randal Page’s

motion. (Doc. No. 385). Mary Page filed a reply to Methodist’s opposition to her motion to

intervene, which also appears to be a motion for review of the Seventh Case Management Order

entered by the Magistrate Judge on December 22, 2022 (Doc. No. 298). (See Doc. No. 315).

                                     I.     BACKGROUND

       This case was initially filed by Relator Michael Liebman on May 30, 2017, under the False

Claims Act, 31 U.S.C. § 3729, et seq. (Doc. No. 1). The False Claims Act allows a private person,

known as a relator, to file a civil action on behalf of the United States. 31 U.S.C. § 3130(b)(1). As

required by the False Claims Act, the complaint was filed under seal to allow the Government time

to investigate and determine whether to intervene. 31 U.S.C § 3730(b)(2). The case remained under




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seal until December 19, 2019. (See Doc. No. 61). On October 8, 2021, the United States moved to

intervene. (See Doc. No. 194). That motion was granted on March 11, 2022, at which time the

United States took control of the litigation. (See Order, Doc. No. 233). During the course of the

litigation, relators reached a settlement with one group of defendants, and the parties have engaged

in voluminous discovery, engaged expert witnesses, and filed dispositive motions. The case is

currently set for trial on November 7, 2023. (See Doc. No. 254).

                                     II.     INTERVENTION

       Mary Page and Randal Page, both of whom have appeared pro se, seek to intervene in this

case as co-relators under Federal Rule of Civil Procedure 24(a) and (b). Rule 24 provides for two

kinds of intervention: intervention as of right and permissive intervention. Under either standard,

intervention must be timely. NAACO v. New York, 413 U.S. 345, 365 (1973); Blount-Hill v.

Zelman, 636 F.3d 278, 284 (6th Cir. 2011).

       To determine timeliness, the Sixth Circuit has held that a court is to look to the totality of

the circumstances and articulated five factors that are relevant to making that determination: (1)

the point to which the suit has progressed; (2) the purpose for which intervention is sought; (3) the

length of time preceding the application during which the proposed intervenor knew or should

have known of their interest in the case; (4) the prejudice to the original parties due to the proposed

intervenor’s failure to promptly intervene after they knew or reasonably should have known of

their interest in the case; and (5) the existence of unusual circumstances militating against or in

favor of intervention. Kirsch v. Dean, 733 Fed. App’x 268, 274 (6th Cir. 2018) (quoting Jansen v.

City of Cincinnati, 904 F.2d 336, 340 (6th Cir. 1990)).

       This case was filed under seal on May 30, 2017 (Doc. No. 1) and unsealed on December

19, 2019 (Doc. No. 61). Mary Page’s motion to intervene was filed on November 2, 2022 – five



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years after the complaint was filed and almost three years after the case was unsealed. Randel

Page’s motion to intervene, which was filed on May 17, 2023, is even more untimely. During this

time, the suit has progressed significantly. Indeed, at the time of Randal Page’s motion, discovery

had closed and dispositive motions had been filed. Additionally, the purpose of intervention is

somewhat unclear. Both movants claim to have “documentary evidence [to] prove a claim against

the transaction.” (See Doc. No. 283 at 2, and Doc. No. 339 at 2).

       To allow intervention at this late date would prejudice the parties who have been actively

litigating this matter. For these reasons, the Court finds the proposed intervenors have failed to

establish timeliness. Therefore, intervention under Fed. R. Civ. P. 24(a) or (b) is not appropriate.

       Moreover, the False Claims Act does not allow relators to proceed pro se. See McGhee v.

Light, 384 F. Supp. 3d 894, 897 (S.D. Ohio 2019) (dismissing qui tam case brough by pro se

litigant noting that courts “have uniformly held that pro se relators may not prosecute qui tam

actions”); see also, Wojcicki v. SCANA/SCE&G, 947 F.3d 240, 244-46 (4th Cir. 2020); Georgakis

v. Ill. State Univ., 722 F.3d 1075, 1077 (7th Cir. 2013); Timson v. Sampson, 518 F.3d 870, 873-74

(11th Cir. 2008); U.S. ex rel. Mergent Servs. v. Flaherty, 540 F.3d 89, 92-93 (2d Cir. 2008); Stoner

v. Santa Clara Cnty. Office of Ed., 502 F.3d 1116, 1126-28 (9th Cir. 2007). The False Claims Act

does not provide a mechanism for a private litigant to intervene in a pending qui tam action brought

by another relator, particularly when the United States has already intervened.

       Because intervention is not appropriate under Rule 24(a) or 24(b) or under the False Claims

Act, the motions to intervene will be DENIED.




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                                III.    MOTION FOR REVIEW

       Mary Page also appears to seek review of the Seventh Case Management Order which was

entered by the Magistrate Judge on December 22, 2022 (Doc. No. 298). (Doc. No. 315). Federal

Rule of Civil Procedure 72(a) allows parties to seek review of a non-dispositive order of a

magistrate judge. A district court may “reconsider” a magistrate judge’s decision on a non-

dispositive, non-excepted, pending pretrial matter only if it is “clearly erroneous or contrary to

law.” Bisig v. Time Warner Cable, Inc., 940 F.3d 205, 219 (6th Cir. 2019); 28 U.S.C. §

636(b)(1)(A). Any motion for review of a non-dispositive order of a Magistrate Judge must be

filed within 14 days. Fed. R. Civ. P. 72(a).

       Even if Ms. Page, as a non-party, could seek review of the Magistrate Judge’s Order, her

motion, which was filed 40 days after the Seventh Case Management Order, is untimely.

Furthermore, she has not pointed to any error, legal or otherwise, in the case management order.

Accordingly, the Appeal of the Seventh Case Management Order (Doc. No. 315) is DENIED.

                                       IV.     CONCLUSION

       For the reasons stated herein, the motions to intervene (Doc. Nos. 283 and 339) are

DENIED. Mary Page’s Appeal of the Seventh Case Management Order (Doc. No. 315) is also

DENIED.

       It is so ORDERED.

                                                      ________________________________
                                                      WILLIAM L. CAMPBELL, JR.
                                                      UNITED STATES DISTRICT JUDGE




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